                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06cr251-02


UNITED STATES OF AMERICA,                        )
                                                 )
Vs.                                              )             ORDER
                                                 )
CHRISTOPHER ALLEN HUNTER,                        )
                                                 )
                  Defendant.                     )
________________________________________         )


        THIS MATTER coming on to be heard before the undersigned on November 28, 2007

and at the call of this matter, defendant’s counsel made an oral motion to continue the case

to which the Government did not object.

                                          ORDER

        IT IS, THEREFORE, ORDERED that the above entitled matter is CONTINUED

until December 5, 2007.

                                             Signed: December 11, 2007




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